         Case 2:10-cr-00347-DAD Document 375 Filed 06/25/14 Page 1 of 3


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 5   Attorney for Defendant
     DISHAN PERERA
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 8
                                     UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                        No. 2:10-CR-00347 MCE
12
                        Plaintiff,                    AMENDED STIPULATION AND ORDER
13                                                    FOR CONTINUANCE OF STATUS
            v.                                        CONFERENCE
14
     DISHAN PERERA,
15

16                      Defendant.
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19          IT IS HEREBY stipulated between the United States of America through its undersigned
20   counsel, Assistant United States Attorney Jill Thomas, and defendant DISHAN PERERA through his
21   undersigned counsel Dwight Samuel, that the previously scheduled status conference date of May
22   22, 2014, be vacated and the matter set for status conference on July 31, 2014.
23          The reason for this request is that Mr. Dishan Perera’s counsel has been engaged in ongoing
24   plea negotiaons including counter offer by the defendant. Most recently Imesh Perera, brother and
25   co-defendant of Dishan Perera, has requested new counsel be appointed. Since the last offer there has
26   been an extensive meeting between the parties to resolve some final issues. Counsel has requested
27   the two level variance terms be included in the plea agreement and it is anticipated it will be done
28   thereby constituting the final plea agreement. Due to counsel’s schedule and ongoing negotiations

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         Case 2:10-cr-00347-DAD Document 375 Filed 06/25/14 Page 2 of 3


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     and defendants placement in the Nevada County Jail Counsel now needs addtional time to further
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     discuss this final offer. It is anticipated at this new status date a plea will be entered.
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             The parties further agree and stipulate that the time period from the filing of this stipulation
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     until July 31, 2014, should be excluded in computing time for commencement of trial under the
 5
     Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 6
     Code T-4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
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     preparation. It is further agreed and stipulated that the ends of justice served in granting the request
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     outweigh the best interests of the public and the defendant in a speedy trial.
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             Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
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             So stipulated,
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12           Date: May 28, 2014                                       /s/ Dwight M. Samuel
                                                                     Dwight M. Samuel
13                                                                   Attorney for Defendant
14                                                                   DISHAN PERERA

15           Date: May 28, 2014                                       /s/ Jill Thomas____________________
                                                                     Assistant U.S. Attorney
16                                                                   Jill Thomas
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 1                                                    ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based on
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     the stipulation of the parties and the recitation of facts contained therein, the Court finds that the
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     failure to grant a continuance in this case would deny defense counsel reasonable time necessary for
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 8   effective preparation, taking into account the exercise of due diligence. The Court finds that the ends

 9   of justice to be served by granting the requested continuance outweigh the best interests of the public
10   and the defendants in a speedy trial.
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            The Court orders that the time from the date of the parties' stipulation, to and including July
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     31, 2014, shall be excluded from computation of time within which the trial of this case must be
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     commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (iv), and
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15   Local Code T4 (reasonable time for defense counsel to prepare). It is further ordered that the May

16   22, 2014, status conference shall be continued to July 31, 2014, at 9:00 a.m.

17          IT IS SO ORDERED.
18   Dated: June 24, 2014
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